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                EXHIBIT A
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       GLENCORE INTERNATIONAL AG & ACCESS WORLD (VLISSINGEN) B.V.

                                 DISCOVERY PROPOSAL


Documents

   •    Relevant period: April 1, 2010 to December 31, 2011

   •    Custodians:

           o Gary Fegel (Glencore International AG)

           o Robin Scheiner (Glencore International AG)

           o Simon Yntema (Access World (Vlissingen) B.V.)

   •    Document categories to be produced:

           o Applying search keywords provided by Fujifilm, Reynolds, and Southwire on
             May 18, 2020 to the following:

                     All communications between Glencore International AG and:

                         •   Glencore Ltd.;

                         •   Goldman Sachs and/or its affiliates;

                         •   Henry Bath and/or its affiliates;

                         •   JPMorgan and/or its affiliates;

                         •   Metro and/or its affiliates;

                         •   Access World USA LLC;

                         •   Burgess-Allen Partnership;

                         •   Red Kite Management;

                         •   RK Capital;

                         •   Deutsche Bank; or

                         •   C. Steinweg.




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                  All communications between Access World (Vlissingen) B.V. and:

                      •   Glencore Ltd.;

                      •   Goldman Sachs and/or its affiliates;

                      •   Henry Bath and/or its affiliates;

                      •   JPMorgan and/or its affiliates;

                      •   Metro and/or its affiliates;

                      •   Access World USA LLC;

                      •   Burgess-Allen Partnership;

                      •   Red Kite Management;

                      •   RK Capital;

                      •   Deutsche Bank; or

                      •   C. Steinweg.

                  All internal Glencore International AG communications referring to
                   communications with:

                      •   Goldman Sachs and/or its affiliates;

                      •   Henry Bath and/or its affiliates;

                      •   JPMorgan and/or its affiliates; or

                      •   Metro and/or its affiliates.

                  All internal Access World (Vlissingen) B.V. communications referring to
                   communications with:

                      •   Goldman Sachs and/or its affiliates;

                      •   Henry Bath and/or its affiliates;

                      •   JPMorgan and/or its affiliates; or

                      •   Metro and/or its affiliates.




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          o Without applying any search keywords, all communications sent from Glencore
            International AG to:

                    Platts;

                    Fastmarkets; or

                    Metal Bulletin.

          o Without applying any search keywords, all communications sent from Access
            World (Vlissingen) B.V. to:

                    Platts;

                    Fastmarkets; or

                    Metal Bulletin.

Depositions

   •   Individual deposition: Robin Scheiner

   •   Rule 30(b)(6) deposition for Glencore International AG: Robin Scheiner, with the
       following topics:

          1. The 2011 transaction between Defendants Glencore International AG and
             JPMorgan Chase Bank, N.A., whereby those Defendants swapped aluminum
             warrants that included 860,000 MT of aluminum stored at the Pacorini Vlissingen
             warehouses (the “2011 Vlissingen Swap”).

          2. Your communications with Glencore International AG, Glencore AG, Glencore
             Ltd., Pacorini Metals Vlissingen BV, Pacorini Metals USA, Pacorini Metals AG
             concerning the 2011 Vlissingen Swap.

          3. Your communications with Defendant JPMorgan Chase Bank, N.A., Defendant
             JPMorgan Securities Plc, or any other JPMorgan entity concerning the 2011
             Vlissingen Swap.

          4. The actual cancellation of the warrants that were the subject of the 2011
             Vlissingen Swap, including logistics for loading out of the metal in dedicated
             load-out slots, FOT charges, and rent charges, as well as the impact on queue
             length.

          5. Your communications with any Glencore entity or any Pacorini entity regarding
             any attempt to create warehouse load-out queues, bottlenecks, choke points, or
             efforts to build a critical mass of metal in a warehouse.



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          6. Any agreement with any Goldman Sachs entity, including Goldman Sachs & Co.,
             J. Aron & Company, or Goldman Sachs International, or any JPMorgan entity,
             including JPMorgan Chase Bank, N .A. or JPMorgan Securities Plc, to allow You
             to select the aluminum lots to load out in relation to any warrant cancellation.

          7. The relationship between the U.S. Midwest Premium and the European or
             Rotterdam Premium.

          8. The relationship between queues or bottlenecks in warehouses, and premiums and
             incentive payments.

          9. The plan discussed between Peter Waszkis, Marc Kremer and Gary Fegel in or
             around July 9, 2010 to “make our own Detroit: and it will be Vlissingen”, and to
             “emulate … Detroit in NOLA.” See, e.g., PUSA-E00167433-37.

          10. Payments (whether called incentive payments, freight allowances, or otherwise)
              made or agreed by You to bring aluminum to Pacorini’s warehouses, including to
              re-warrant previously warranted aluminum. See, e.g., GLEN-ALl-0703673.

          11. Any agreement not to compete for warehouse space in the United States or
              Europe.

          12. The plan discussed between Robin Scheiner, Andrew Caplan, and others in or
              around July 13, 2013 to build “another large and final queue in Rotterdam.” See,
              e.g., GLEN-ALI-0990272.

          13. The organization and corporate structure, and subsidiaries and wholly owned
              entities, of you and any other Glencore or Access World entities named as
              defendants in the Aluminum Warehousing cases.

Data

   •   Relevant period: April 1, 2010 to December 31, 2011

   •   From Access World (Vlissingen) B.V.:

          o Data sufficient to show end-of-day (or if not tracked daily, then in the most
            specific form available) inventory of primary aluminum stored at Access World
            (Vlissingen) B.V. locations, including:

                    Aluminum held on-warrant at all locations broken down on a location-by-
                     location basis; and

                    Aluminum held off-warrant at all locations broken down on a location-by-
                     location basis.



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          o Data sufficient to show all payments and/or incentive agreements or any other
            agreements that were paid and/or agreed to induce the storage of aluminum or to
            extend the storage period of aluminum at Access World (Vlissingen) B.V.
            locations.

   •   From Glencore International AG:

          o Data sufficient to show end-of-day (or if not tracked daily, then in the most
            specific form available) primary aluminum holdings at LME warehouses in
            Detroit and Vlissingen.

          o Data sufficient to show end-of-day (or if not tracked daily, then in the most
            specific form available) primary aluminum holdings at non-LME warehouses in
            Detroit and Vlissingen.




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